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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                              CASE NO.: 14-24887-MC-SEITZ/LOUIS

   IN RE APPLICATION OF
   HORNBEAM CORPORATION

   REQUEST FOR DISCOVERY PURSUANT
   TO 28 U.S.C. § 1782
   _____________________________________/

                  APPLICANT, HORNBEAM CORPORATION’S,
                 AND INTERVENORS, VADIM SHULMAN’S AND
             BRACHA FOUNDATION’S, RESPONSE TO MOTION OF
       BUZZFEED, INC. TO INTERVENE AND UNSEAL JUDICIAL DOCUMENTS

         Applicant, Hornbeam Corporation (“Hornbeam”), and Intervenors Vadim Shulman

  (“Shulman”) and Bracha Foundation (“Bracha”) (collectively, “Applicants”), submit this

  Response and Memorandum of Law in Opposition to the Motion to Intervene and Unseal Judicial

  Documents (Doc. 377) filed by Buzzfeed, Inc. (“Buzzfeed”), and state:

                                     I.      INTRODUCTION

         Buzzfeed’s request to unseal ten (10) documents (docket entries 36, 78, 90, 110, 135, 138,

  287-1, 306, 307, and 322) in this case should be denied as moot with respect to the documents that

  are already in the public record (docket entries 78 and 135) and denied as to the remaining docket

  entries (docket entries 36, 90, 110, 138, 287-1, 306, 307, and 322) for reasons set forth below.

                     II.     ARGUMENT AND MEMORANDUM OF LAW

         A.      The Court Should Not Unseal The Following Documents.

         Docket Entry 287-1:

         Buzzfeed’s request to unseal docket entry 287-1 should be denied. Contrary to Buzzfeed’s

  assertion, the ex parte email communication to the Court, which included Certifications disclosing
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  persons who had received Confidential Information in this case, lack any substance to the

  adjudication of the merits in this case. Rather, Applicants’ prior counsel submitted the

  communication to the Court to comply with Section 6(f) of the Stipulated Protective Order (the

  “SPO”), which provided that “Certifications will be produced to and kept on file by the Court, and

  the non-disclosing Party may make an application to have the Certifications produced for good

  cause.” (Doc. 224 at ¶ 6(f)). The Court recognized the propriety of sharing the information with

  third parties, even allowing the Certifications to be kept confidential from the other side under the

  SPO. The reasons for sealing the communication and Certifications are known to the Court, and

  they remained manifest on the face of the documents. Once it received the communication from

  Applicants’ prior counsel, the Court sua sponte ordered the clerk to file the communication under

  seal, excepting it from public disclosure (Doc. 287).

         Docket Entry 322:

         Buzzfeed’s request to unseal docket entry 322 should also be denied. Having reviewed the

  document, the reasons for sealing it are known to the Court and remain manifest from the face of

  the document itself.

         Docket Entries 306 and 307:

         As for docket entries 306 and 307, in accordance with the SPO (Doc. 224), as amended,

  the Subpoena Respondents designated certain portions of the multiple transcripts which comprise

  docket entries 306 and 307 as “attorney’s eyes only” and “confidential.” Although Applicants do

  not consent to or advocate the continued sealing of the docket entries, Applicants concede this

  Court’s prior orders may preclude the unsealing of those portions.1 If the Court is inclined to




  1
   On May 11, 2020, the Court also ordered Responsive Materials, as defined by the SPO to be
  destroyed within seven (7) days. (Doc. 375.)
                                                   2
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  permit the continued sealing of these documents, Applicants request the Court allow for the parties

  to apply for leave in the future to seek the unsealing of these documents upon good cause shown.

         Docket Entries 36, 90, 110, and 138:

         As for docket entries 36, 90, 110, and 138, Applicants’ current counsel has been unable to

  ascertain the substance and nature of the documents, and therefore takes no position regarding the

  continued sealing of the documents, but presumes the grounds for their having been originally

  sealed to remain persuasive.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 10, 2020, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system, which furnished a copy of the foregoing via

  electronic mail to all counsel of record.

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